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 8

 9                                 UNITED STATES DISTRICT COURT

10                                 EASTERN DISTRICT OF CALIFORNIA

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12    UNITED STATES OF AMERICA, et al., ex              Case No. 2:19-CV-1472 JAM DB
      rel. Vyvanse Litigation Partnership LLP,
13                                                       ORDER ON STATE OF CALIFORNIA'S
                                    Plaintiffs,          NOTICE OF ELECTION TO DECLINE
14                                                       INTERVENTION
                     v.
15
      TAKEDA PHARMACEUTICAL COMPANY
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      LIMITED, TAKEDA PHARMACEUTICALS,
17    U.S.A., INC., TAKEDA
      PHARMACEUTICALS AMERCA, INC.,
18    SHIRE NORTH AMERICAN GROUP, INC.,
      SHIRE PHARMACEUTICALS, LLC, SHIRE
19    U.S., INC., SHIRE DEVELOPMENT LLC,
      SHIRE LLC, and SHIRE PLC,
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21                                   Defendants.

22          The State of California (“California”), having declined to intervene in this action, and

23   pursuant to California’s False Claims Act, California Government Code section 12650, et seq.,

24   the Court rules as follows.

25          IT IS HEREBY ORDERED that:

26          1. The qui tam Plaintiff shall serve the Complaint upon the Defendants.

27          2. The qui tam Plaintiff shall serve this Order and the accompanying Notice of Election to

28              Decline Intervention upon the Defendants after service of the Complaint.



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        ORDER ON STATE OF CALIFORNIA’S NOTICE OF ELECTION TO DECLINE INTERVENTION
 1         3. The parties shall serve all pleadings, motions, and appeals filed in this action, including
 2            supporting memoranda, upon California and the other named plaintiff States.
 3         4. All orders of this Court shall be sent to California and the other named plaintiff States.
 4         5. California and the other named plaintiff States may order any deposition transcripts,
 5            intervene at a later date for good cause shown, or move to dismiss qui tam Plaintiff’s
 6            Complaint or claims.
 7         6. With respect to Maryland, and in accordance with the terms of the Maryland False
 8            Health Claims Act, Md. Code Ann., Health Gen, § 2-604 (a)(7), the State of Maryland
 9            having declined to intervene in this matter, all claims asserted on behalf of Maryland
10            are hereby dismissed without prejudice.
11         7. Should the qui tam Plaintiff or any Defendant propose that this action be dismissed,
12            settled, or otherwise discontinued, the Court will provide California and the other named
13            plaintiff States with notice and an opportunity to be heard before ruling or granting its
14            approval.
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17   DATED: April 29, 2021                         /s/ John A. Mendez
18                                                 THE HONORABLE JOHN A. MENDEZ
                                                   UNITED STATES DISTRICT COURT JUDGE
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       ORDER ON STATE OF CALIFORNIA’S NOTICE OF ELECTION TO DECLINE INTERVENTION
